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DATE: 9{2"1 105

IN THE UNI'I`ED STATES DISTRICT COURT

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WESTERN DISTRICT OF TENNESSEE, WESTERN DIVI

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LoUlsE AFFLIS,
Plaimifr,
v. No. 2:03(:\/2714 B/P
BAPTIST MEMORIAL HosPITAL
d/b/a BAPTIST MEMORIAL
HosPITAL - coLLIERvILLE,

Defendant.

 

-P-RO-P-QSEB JOINT PRE-TRIAL ORDER

 

1. CAPTION

All parties are listed in the caption

2. REMAINING JURISDICTIONAL ISSUES

None.

3. PENDING MO'I`IONS

Defenda.nt’s Motions in Limine, filed August 12, 2005, are currently pendingl

4. SUMMARY OF THE CASE

This case involves a claim by Plaintiff that she fell in a hospital patient room
While visiting her daughter at Baptist Memorial Hospital-Collierville. Plaintiff claims her
fall was the result of negligence by Baptist. Plaintiff contends that as a result of this fall

she sustained various injuries for Which he is entitled to compensation from Baptist.

This document entered on the docket hth in compliance
Wlth Flule 58 and/or 79(3) FHCP on 8’3£2 ~ §255
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Baptist denies that it or its employees engaged in any act that in any way
contributed to Plaintiff’s alleged fall. Baptist also contends the evidence will show that
Plaintiff is exaggerating the extent to which she was injured as a result of the alleged fall.

5. RESPECTIVE CONTENTIONS OF THE PARTIES

A. Contentions of the Plaintiff:

The plaintiff contends that she was injured due to the negligence of the Defendant when
she slipped on what appeared to be water left on the tloor. According to the defendant’s
employee, Phillip Vaughn, Baptist normally Wet mops the floors of hospital patients
between the hours of 7 a.m. - 9 a.m. The defendant keeps no records of when they wet
mop any particular patients’ rooms. The Plaintiff contends that Baptist Hospital was in
exclusive control of Michelle Huber’s room and that no other persons had access to her
private hospital room except for her husband, Michael Huber, and her mother, Louise
Afflis.
The plaintiff contends that after the fall she suffered serious physical injuries
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which resulted m a fourteen-percent ( ° impalrment to her whole body. Furthermore,
the Plaintiff contends she suffered financially as a result of the fall.
B. Contentions of Defendant:

The plaintiff" s daughter, Miche]le Huber, was a patient at Baptist Memorial
I-Iospital-Collierville on September 19, 2002.

At approximately 7:30 to 7:45 a.m. on September 19, 2002, plaintiffs son-in-law.
Michael Huber left his Wife’s hospital room and drove to his apartment approximately 10
minutes away to pick up the plaintiff Louise Afflis. Michael Huber and the plaintiff

Louisc Afflis returned directly to Michelle Huber’s hospital room.

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According to plaintiff and Mr. Huber, plaintiff fell almost immediately after she
entered the hospital room occupied by her daughter. lt is significant to note that neither
plaintiff, her daughter or her s on-in-law immediately c ontacted or attempted to c ontact
hospital personnel to let them know of plaintiff’ s fall. Only when the nurse came to check
on plaintiff’ s daughter did they report that plaintiff had fallen. By then however, according
to Mr. Huber he wiped up the substance on which plaintiff allegedly fell and there was no
evidence on the floor where plaintiff allegedly fell.

No one knows what the liquid was or where the liquid came from that allegedly
caused plaintiff’ s fall. There is no evidence of any container on the floor that would have
had liquid in it. Plaintiff has no idea how long the liquid had been there; and the liquid was
not there the previous night.

There may be an attempt by plaintiff and others to speculate and to influence the
jury to improperly speculate that the liquid was spilled by an employee or any agent of
Baptist Memorial Hospital-Collierville or that an employee or agent of Baptist Memorial
HospitalFCollierville knew that any liquid was on the floor prior to the fall.

6. STIPULATIONS

l, The plaintiff’ s daughter, Michelle Huber, was a patient at Baptist
Memorial Hospital-Collierville on September 19, 2002.

2, At approximately 7:30 to 7:45 a.m. on September 19, 2002,
Michael Huber led his wife’s hospital room and drove to his apartment approximately 10
minutes away to pick up the plaintiff, Louise Afflis. Michael Huber and the plaintiff

Louise Afflis returned directly to Michelle Huber’s hospital room.

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3. The plaintiff testified in her deposition that she fell almost
immediately upon her arrival to the hospital room on September l9, 2002.

4. After the plaintiff reported the fall, Djun Finney, RN, looked
around the room, looked under the bed, looked around the bed, and did not see any liquid
on the floor or anything that could have leaked onto the floor. Michael Huber testified
that he wiped up the wet substance prior to reporting the fall to Djun Finney, RN.

5. The plaintiff does not know what the liquid was or where the liquid
came from', she never saw any container on the floor that would have had liquid in it; she
has no idea how long the liquid had been there; and the liquid was not thee the previous
night

6. The plaintiff has no idea if the liquid was spilled by an employee or
any agent of Baptist Memorial Hospital-Collierville; and she has no idea if an employee or
agent of Baptist Memorial Hospital-Collierville knew that any liquid was on the floor
prior to the fall.

7. Michael Huber did not notice any liquid on the floor prior to the
plaintiffs alleged fall; he has no idea what the liquid was or where the liquid came from;
he has no idea how long the liquid was there prior to the fall; he has no knowledge that the
substance was put there by an employee or agent of Baptist Memorial Hospital-
Collierville; and he does not know of any nurse, employee, or anyone else in the hospital
having knowledge of any water or liquid on the floor before the plaintiffs fall.

8. Michelle Huber had not noticed any liquid on the floor prior to the

plaintiffs alleged fall; she does not know where the liquid came from; she does not know

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what the liquid was; and she does not know of anyone with the hospital having knowledge
of any liquid on the floor before the plaintiffs fall.

9. Djun Finney, RN, and Michelle Thomas, RN, the Head Nurse and
supervisor over Djun Finney, RN, were on duty on the second floor of Baptist Memorial
Hospital-Collierville at the time of the plaintiffs alleged fall on September 19, 2002.

lO. Michelle Thomas, RN, had no knowledge and no notice of any wet
spot on the floor o f M ichelle H uber’s room p rior to the plaintiffs alleged fall; and no
employee or agent of Baptist Memorial Hospital-Collierville to her knowledge knew of or
had any notice of any wet spot n the floor of Michelle Huber’s room prior to the plaintiffs
alleged fall.

7. CONTESTEQ ISSUES OF FACT

A. Whether Baptist or its employees were the source of the wet
substance on which plaintiff allegedly fell?

B. Whether Bapti st had knowledge prior to plaintiff s fall of the
existence of the hazardous condition that caused plaintiff s fall?

C. Whether the Plaintiff fell at the Defendant’s hospital?

D. Whether Mrs. Afflis was injured in the fall, and if so, what are the
extent of her injuries and damage?

8. LIST OF EXHIBITS
Plaintiff’s Exhibits
l. Medical Records from Louise Afflis’ treating physicians:
(a) Robert C. Nucci, M.D.

(b) Karen Wolstein, D.C.;

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2. Medical Bills from Louise Afflis’ treating physicians:
(a) Robert C. Nucci, M.D.;
(b) Baptist Hospital -" Collierville;
(c) Harish Patel, M.D.;
(d) Joel Goldberg, D.M.D., P.A.;
(e) Robert Chuong, D.M.D., P.A.;
(f) Fred Ferderigos, M.D.;
(g) Suncoast Tota] Healthcare (Karen Wolstein, M.D.);
(h) Richard Leverone, D.C.;
(i) Tampa Bay Imaging.
3. Transcript and videotape of the deposition of Robert C, Nucci,
M.D., taken April 8, 2005;
4. Diagram of room 210 of Baptist Hospital » Collierville.
5. Affldavit of Michelle Thomas, R.N.
6. Affidavit of Lauren Porter.
7. Transcript and videotape of the deposition of Karen Wolstein, D.C.
8. Tax returns of the Plaintiff for the year 2000-2004.
Defendant’s Exhibits
l. Seven Step Cleaning Technique
2, Diagram of typical patient room
3. Diagram of Room 210 drawn by Michael Huber (Exhibit 2 to
deposition of Michael Huber)
4. Diagram of Room 210 drawn by Louise Afflis (Exhibit 2 to

deposition of Louise Afflis taken May 26, 2004)

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Photograph of Roorn 210 at Baptist Memorial Hospital-Collierville
Videotapes of surveillance of plaintiff on March 13~15, 2005
Videotape of surveillance of plaintiff on April 8, 2005

Piivate investigator’s report of surveillance of plaintiff on March
13-15, 2005

Private investigator’s report of surveillance of plaintiff on April 8,
2005

Maintenance records for Roorn 210

Low Back Pain and Disability Questionnaire (Exhibit 4 to
deposition of Louise Afflis taken April 8, 2005)

Neck Disability Index Questionnaire (Exhibit 4 to deposition of
Louise Afflis taken April 8, 2005)

Declaration-Affirrnation of Authenticity of Patient Statements
(Exhibit 5 to deposition of Dr. Robert Nucci)

Plaintiffs income tax records for the years 2000, 2001, 2002, 2003,
and 2004

Medical records of Michelle Huber from Baptist Memorial
Hospital-Collierville related to hospitalization in September 2002

Plaintiffs records from the following:

Baptist Memorial Hospital-Collierville

Clarkson & Kidd (Dr. Frederick Clarkson, Dr. Rebecca Reynolds)
Diagnostic lmaging Consultants (Dr. Richard Leverone)

Tarnpa Bay lmaging

Largo Imaging Center

West Coast Neurology (Dr. Harish Patel)

Dr. Fred Ferderigos

Dr. Philip Christ

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q.

Farese Physical Therapy Center
Dr. Robert Choung, DMD ('l`ampa Bay Maxillofacial Surgery)

Dr. Joel Goldberg, DMD

Dr. Raj Naik

Dr. Ioseph Rosin (Diagnostic Clinic)
Walgreen’s Pharmacy

Winn Dixie Phannacy

Humana lnsurance

Dr. Thad Ferrell

The defendant reserves the right to offer any exhibit listed by the plaintiff The

defendant in listing the above-referenced exhibits is not waiving any right to object to the

use of all or any portion of the documents listed pursuant to all applicable provisions of

the Federal Rules of Evidence or other applicable rule or law.

9. LIST OF WITNESSES

Plaintiff:
A. Will Call:
l. Name: Louise Afflis
Address: 19134 GulfBlvd.
lndian Shores, FL 33785
727-595-4688
2. Name: Michael Huber
Address: 7'719 Hunters Run Drive

Gerrnantown, TN 38138
901-624-7678

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3. Name: Michelle Huber
Address: 7719 Hunters Run Drive
Germantown, Tennessee 3 813 8
901 -624-7678

4_ Narne: Robert C. Nucci, M.D.
Address: Nucci Medical Center
6322 Gunn Highway

Tampa, FL 33625
813-864-3998

5. Narne: Phillip W. Vaughn
Address: 39 Beaver Lane
Tipton, Tennessee
Phone number unknown
6. Narne; Djun Finney
Address: 4441 Fair Meadow Road
Memphis, Tennessee 38117
Phone number unknown
7. Name: Michelle Thomas
Address: 4225 Highway 194
Rossville, Tennessee
Phone number unknown

B. May Call:

l. Any witness on Defendant’s list of witnesses
2. Karen Wolstein, D.C.
Suncoast Spinal, Medical and Rehab Centers
24945 US Highway 19 North

Clearwater, FL 33763
('727) 726-1460

Defendant:
A. M:
l. Djun Finney, RN
2. Michelle Thomas, RN

3. Warren Duane

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B- range

l. Phil Vaughn

2. Michael Huber

3. Michelle Huber

4. Louise Afflis

5. June Gustus

6. Ryan Barkas

7 . Jerry Gaston

8. Phyllis Osborne, RN

9. Dr. Tirnothy Kemp

10. Carol Pahde, RN

1 l. Stephanie Austin, RN

12. Custodian of medical records for Baptist Memorial

Hospital~Collierville
The defendant reserves the right to call any witness listed by the plaintiff and any
rebuttal witness whose testimony could not be reasonably anticipated prior to trial.
B. WI'I`NESSES TESTIFYING BY DEPOSITION:
None are anticipated to be used by the defendant at this time. However, the
defendant reserves the right to introduce or use all or any portion of the depositions taken

in this case pursuant to all applicable provisions of the Federal Rules of Civil Procedure

and Federal Rules of Evidence.
10. DEPOSITION TESTIMONY

Plaintiff will offer testimony taken from the deposition of Robert C. Nucci, M.D.

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and may offer testimony taken from the evidentiary deposition of Karen Wolstein, D.C.

Defendant incorporates by reference herein Defendant’s objections, contained in
Defendant’s Motion-ln-Limine filed August 12, 2005, Docket #56, to portions of the
deposition of Dr. Nucci. Defendant also incorporates by reference the objections, Docket
#5 5, also filed August 12, 2005.

11. ESTIMATE OF TRIAL LENGTH

Three to four days

13. THE CASE IS A JURY TRIAL

14. ATTORNEYS INTERESTED

Plaintiffs Counsel -

Jock M. Srnith, Esq.

David A. McLaughlin, Esq.

The Cochran Firm - Memphis
One Commerce Square, 26th Floor
Memphis, TN 38103

(901) 523-1222

Defendant’s Counsel -

Elij ah Noel, Jr., Esq.

Shannon Holbrook, Esq.

Harris Shelton Hanover Walsh, PLLC
2700 One Commerce Square
Memphis, TN 38103

(901) 525-1455

 

E STATES DISTRICT J`UDGE

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APPROV ED:

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Attorney for Plainti ff

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Notice of Distribution

This notice confirms a copy of the document docketed as number 72 in
case 2:03-CV-027l4 was distributed by fax, mail, or direct printing on
August 30, 2005 to the parties listed.

EsSEE

 

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Honorable J. Breen
US DISTRICT COURT

